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                       IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF KANSAS

KIRA FLORECE                                )
on behalf of herself and others             )
similarly situated,                         )
                                            )
       Plaintiff,                           )
                                            )
vs.                                         )      Case No.: 2:20-cv-2339
                                            )
JOSE PEPPER’S RESTAURANTS,                  )
L.L.C. and EDWARD J.                        )
GIESELMAN,                                  )
                                            )
      Defendants.                           )
____________________________

                             STIPULATION OF SETTLEMENT
                              AGREEMENT AND RELEASE

       This Stipulation of Settlement Agreement and Release (this “Settlement Agreement”) is

entered into between Kira Florece as the Named Plaintiff and Class Representative of the

Collective Class Members and Rule 23 Class Members (as defined in Sections 1.7 and 1.26,

below) (hereafter the “Named Plaintiff,” “Class Representative” or “Florece”), represented by

her attorneys Brendan J. Donelon of DONELON, P.C. and Brandon Boulware and Erin Lawrence

of BOULWARE LAW, and Defendants Jose Pepper’s Restaurant, LLC (“Jose Pepper’s”) and

Edward J. Gieselman (“Defendants”), represented by their attorney Tyler C. Hibler of HUSCH

BLACKWELL, LLP.

       WHEREAS, the Named Plaintiff filed a Complaint on July 7, 2020 against the

Defendants, on behalf of herself and all others similarly situated, for damages and other relief

relating to violations of the Fair Labor Standards Act, 29 U.S.C. § 201, et seq. (“FLSA”) for

failing to pay minimum wage and overtime at one and one-half the regular rate of pay for all

overtime hours worked within a workweek. Named Plaintiff’s FLSA claims were asserted as a
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collective action pursuant to 29 U.S.C. § 216(b) on behalf of all similarly situated employees

working as servers for Defendants at their thirteen (13) restaurant locations in Kansas and

Missouri. For putative class members who worked in Missouri, Named Plaintiff also brought a

class action claim pursuant to Fed. R. Civ. P. 23, on behalf of herself and a class of other

similarly situated employees under Missouri’s Minimum Wage Laws, Mo. Rev. Stat. § 290.500,

et seq., (“MMWL”) for failing to pay minimum wage and overtime at one and one-half the

regular rate of pay for all overtime hours worked within a workweek.

       WHEREAS, on March 18, 2021, after receiving leave from the Court, the Plaintiff filed a

First Amended Complaint. (Doc. #58). Regarding the FLSA Collective Class Members and the

MMWL Rule 23 Class Members, Plaintiff pleaded additional factual allegations regarding their

claims. In particular, the Plaintiff amended ¶ 18 of the Complaint to add sub-paragraph (5)

alleging the Defendants’ failed to compensate servers for minimum wages and overtime during

the COVID-19 pandemic. Plaintiff also added ¶ 22 in the Amended Complaint for alleged

claims related to Defendants’ violation of the FLSA § 203(m)(2)(A)(ii) and related regulation

(29 C.F.R. § 531.59(b)) regarding properly informing tipped employees of the law’s

requirements.

       WHEREAS, Defendants deny they owe any unpaid wages or overtime compensation to

Named Plaintiff or any other persons including, but not limited to the Collective Class Members

and Rule 23 Class Members, deny the Collective Class Members or Rule 23 Class Members are

similarly situated or meet the requirements of Rule 23, deny they have violated the FLSA,

MMWL or any other law, rule, or regulation relating to the payment of compensation, and

maintain they have at all times properly compensated the Named Plaintiff and all other persons

including, but not limited to, the Collective Class Members and Rule 23 Class Members; and

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       WHEREAS, the Named Plaintiff and Defendants have exchanged initial factual

disclosures, conducted initial discovery, deposed the Named Plaintiff, and engaged experts to

review voluminous time keeping records and pay data to prepare reports, and such discovery has

enabled each party to understand and assess the detail and substance of their respective claims

and defenses; and

       WHEREAS, a bona fide dispute exists between the Named Plaintiff and Defendants as to

the amount, if any, of wages and overtime compensation owing to the Named Plaintiff and

Collective Class Members and Rule 23 Class Members; and

       WHEREAS, on or about May 21, 2021, after a full day mediation session and continued

work with the mediator, the Parties reached agreement on the material terms of a settlement

resolving the Named Plaintiff’s, the Collective Class Members’, and the Rule 23 Class

Members’ claims, which are now being memorialized in this Agreement.

       NOW, THEREFORE, in consideration of the mutual promises and agreements

hereinafter set forth, it is hereby stipulated and agreed by and between the Named Plaintiff and

Defendants that:


I.     DEFINITIONS
       The terms defined below shall have the meanings set forth in this Section wherever used

in this Agreement and its exhibits, including the Notice (as defined in Section 1.17, below).

       1.1     “Agreement” means this Stipulation of Settlement Agreement and Release and the

terms outlined therein.

       1.2     “Civil Action” means the above-captioned action.

       1.3     “Claim and Release Form” means the two forms agreed upon by the Parties and

approved by the Court, that are to be completed by the Collective Class Members or the Rule 23



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Class Members to opt-into or opt-out of this Settlement. Such forms accompany the Notice (as

defined in Section 1.17, below) and are attached hereto as part of Exhibit B.

       1.4     “Claim Deadline” means the date that occurs forty-five (45) days after the date

Notice is mailed to the Collective Class Members and Rule 23 Class Members, which is the date

by which Collective Class Members and Rule 23 Class Members must return a completed Claim

and Release Form. If this date is on a Saturday, Sunday, or federally recognized holiday, the

Claim Deadline shall be the following business day.

       1.5     “Class Counsel” means attorney Brendan J. Donelon of DONELON, P.C. and

Brandon Boulware and Erin Lawrence of BOULWARE LAW.
       1.6     “Class Representative” means Kira Florece.

       1.7     “Collective Class Members” are defined as the hourly nonexempt servers

employed by Defendants from May 21, 2018 through May 21, 2021 who worked primarily at

Jose Pepper’s nine restaurants located in the state of Kansas.

       1.8     “Court” means the United States District Court for the District of Kansas.

       1.9     “Covered Period” means the time frames for compensation set forth under the

definitions for the Collective Class Members and Rule 23 Class Members.

       1.10    “Defense Counsel” means HUSCH BLACKWELL, LLP.

       1.11    “Fairness Hearing” means the hearing set by the Court in the Preliminary

Approval Order whereby the Collective Class Members and Rule 23 Class Members are

permitted to present any objections to this Settlement Agreement.

       1.12    “Final Approval Date” means the date the Court enters its Final Approval Order

(as defined in Section 1.13, below).

       1.13    “Final Approval Order” means any order issued by the Court after the Fairness

Hearing which grants final approval of the Settlement, authorizes the distribution of payments to

Class Counsel, Named Plaintiff, Participating Class Members (as defined in Section 1.19,



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below), and the Third Party Administrator, under the terms forth herein, and dismisses with

prejudice the Participating Class Members’ Released Claims against the Released Parties.

       1.14    “Gross Settlement Fund” means the total amount of settlement money that can

possibly be paid by Defendants under this Settlement Agreement. The amount of the Gross

Settlement Fund is $1,750,000.00.

       1.15    “Named Plaintiff” means Kira Florece.

       1.16    “Net Settlement Fund” is the amount that represents the Gross Settlement Fund

after deduction of: (a) Court approved attorneys’ fees, expenses, and costs as set forth in Section

3.1, (b) payment for the Third Party Administrator’s (as defined in Section 1.28, below) costs

and expenses, and (c) the service award to Named Plaintiff as set forth in Section 4.2.

       1.17    “Notice” means the notices sent to the Collective Class Members and the Rule 23

Class Members, and their related Claim and Release Forms, all attached hereto as Exhibit B,

which have been approved by the Parties and are subject to the approval of the Court.

       1.18    “Parties” means the Named Plaintiff, Collective Class Members, Rule 23 Class

Members, and Defendants.

       1.19    “Participating Class Member” means the a Collective Class Member or Rule 23
Class Member who returns their Claim and Release Form by the Claim Deadline indicating their

decision to participate and receive payment under the terms of this Settlement.

       1.20    “Payment Deadline” means the date that falls thirty (30) days after the Court

enters its Final Approval Order.

       1.21    “Plan of Allocation” is the method by which the amount owed under this

Settlement is determined by Named Plaintiff’s expert witness, Dr. Liesl Fox, Ph.D. for each

Collective Class Member and Rule 23 Class Member—the description of which has been set

forth in Section 4.1.

       1.22    “Preliminary Approval Date” means the date the Court enters the Preliminary

Approval Order (as defined in Section 1.23, below).

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       1.23   “Preliminary Approval Order” means any order issued by the Court granting

conditional collective class certification under § 216(b) of the FLSA and conditional class

certification under Rule 23; and which grants preliminary approval of the Settlement; and which

authorizes the distribution of the Notices attached hereto as Exhibit B to the Collective Class

Members and Rule 23 Class Members; and which preliminary approves the allocation of the

Gross Settlement Fund as set forth herein; and which sets a date for a final Fairness Hearing

before the Court (the Parties’ courtesy copy to be provided to the Court is attached hereto as

Exhibit A).

       1.24    “Released Claims” means any and all wage and hour and wage payment claims

of whatever nature that the Named Plaintiff and any Collective Class Member or Rule 23 Class

Member may have against any of the Released Parties (as defined in Section 1.25, below),

whether known or unknown, as a result of actions or omissions through and including the Claim

Deadline, whether under federal, state and/or local law, statute, ordinance, regulation, common

law, or other source of law, including, but not limited to, the FLSA, the MMWL, the Kansas

Wage Payment Act, and any other federal, state, or local wage and hour or wage payment laws,

including any and all claims thereunder for unpaid overtime, liquidated damages, unpaid wages,
deductions, minimum wages, premium pay, interest, attorneys’ fees, injunctive relief, or

penalties related to overtime, missed meal periods, missed rest breaks, breach of contract,

quantum meruit or retaliation related to wage claims, the prompt pay laws of any state, and other

alleged wage and hour violations, and any claims related to the Employment Retirement Income

Security Act of 1974, as amended (“ERISA”).

       1.25   “Released Parties” means Defendants Jose Pepper’s Restaurants, LLC, Jose

Pepper’s Legends, LLC, Jose Pepper’s Grill, Inc., Jose Pepper’s 143rd, LLC, Jose Pepper’s

Topeka, LLC, Jose Pepper’s Wichita 1, LLC, Jose Pepper’s Wichita West, LLC, Jose Pepper’s

Midland, LLC, Jose Pepper’s Inc., Jose Pepper’s Mission, LLC, Jose Pepper’s Briarcliff, LLC,

Jose Pepper’s Liberty, LLC, Jose Pepper’s Belton, LLC, Jose Pepper’s Lee’s Summit, LLC and

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Edward J. Gieselman and their predecessors, successors, and present, future and former

affiliates, parents, subsidiaries, insurers, officers, directors, board members, attorneys, agents,

representatives, employees, and assigns, including, without limitation, any investors, trusts, or

other similar or affiliated entities and all persons acting by, through, under, or in concert with

any of them, including any party that was or could have been named as a defendant in this action.

       1.26    “Rule 23 Class Members” are defined as the hourly nonexempt servers employed

by Defendants from July 7, 2017 through May 21, 2021 who worked primarily at Jose Pepper’s

four restaurants located in the state of Missouri.

       1.27    “Settlement Agreement” or “Settlement” means this Stipulation of Settlement

Agreement and Release and the terms outlined therein.

       1.28    “Third Party Administrator” (“TPA”) means Simpluris, Inc. selected by the

Parties that is responsible for mailing the Notices, collecting the Claim and Release Forms,

establishing a trust account for the purposes of collecting funds from Defendants to effectuate the

terms of this Settlement, making payments to the Participating Class Members under the terms of

this Agreement, making payments to Class Counsel under the terms of this Agreement, making

all necessary payments of employer and employee payroll taxes, and issuing IRS Forms W-2 and
1099 to the Participating Class Members and Class Counsel.

II.    RECITALS
       2.1     Defendants employ non-exempt, hourly restaurant server employees at thirteen

locations in the states of Missouri and Kansas that operate under the name “Jose Pepper’s.”

       2.2     Class Counsel conducted a thorough investigation into the facts of the Civil

Action, including the discovery of documents concerning employment policies and procedures

related to the allegations of the Named Plaintiff on behalf of the Collective Class Members and

Rule 23 Class Members, a review of human resources files, Defendants’ employment practices

and policies, and the review of calculations regarding time clock and payroll data. Class Counsel

diligently pursued an investigation of the Named Plaintiff’s, Collective Class Members’, and

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Rule 23 Class Members’ claims against Defendants by interviewing class members, obtaining

declarations, and retaining an expert witness. Based on their investigation and evaluation, the

Named Plaintiff and Class Counsel are of the opinion that the terms set forth in this Settlement

Agreement are fair, reasonable, and adequate and in the best interests of the Collective Class

Members and Rule 23 Class Members in light of all known facts and circumstances, including

the risk presented by the defenses asserted by Defendants, the risk of not obtaining certification

of classes under § 216(b) of the FLSA and Rule 23, the risks of decertification, the risk of

summary judgment, and the delays associated with the litigation, trial and an appeal process, and

ultimately the risks of collecting any awards against the Defendants. Defendants are aware of

the opposing risks of each of these situations, and the potential exposure they face if

unsuccessful in defeating collective or class certification, and ultimately losing at trial and on

appeal.

           2.3   It is the desire of the Parties to fully, finally, and forever settle, compromise, and

discharge all disputes and claims arising from or related to the Civil Action.

           2.4   It is the intention of the Parties that this Agreement shall constitute a full and

complete settlement and release by the Named Plaintiff and Participating Class Members of the
Civil Action and the Released Claims against the Released Parties.

           2.5   Defendants deny any liability or wrongdoing of any kind associated with the

claims alleged in the Civil Action.

           2.6   This Agreement is a compromise and shall not be construed as an admission of

liability at any time or for any purpose, under any circumstances, by the Parties or the Released

Parties.     The Parties further acknowledge and agree that neither this Agreement nor the

Settlement shall be used to suggest an admission of liability in any dispute that any of the Parties

may have now or in the future with respect to any person or entity. Neither this Agreement,

anything in it, nor any part of the negotiations that occurred in connection with the creation of

this Settlement, shall constitute evidence with respect to any issue or dispute in any lawsuit, legal

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proceeding, or administrative proceeding, except for legal proceedings concerning the

enforcement or interpretation of this Agreement.

III.   ATTORNEYS’ FEES, LITIGATION COSTS, AND SETTLEMENT
       ADMINISTRATION COSTS
       3.1     Subject to Court approval of this Settlement Agreement, the Defendants will pay

Class Counsel $577,500.00 for attorneys’ fees (representing 33% of the Gross Settlement Fund)

and an estimated $13,154.33 for expenses and costs incurred by Class Counsel in the prosecution

of the Collective Class Members’ and Rule 23 Class Members’ claims in this Civil Action. In

the Named Plaintiff’s motion for approval of the attorneys’ fees, costs, and expenses regarding

this Settlement, Named Plaintiff will move the Court to require payment of the fees, expenses,

and costs to Class Counsel within twenty-one (21) days of the later of: (a) the Final Approval

Date, or (b) receipt by the TPA of taxpayer identification numbers via executed W-9 forms from

Class Counsel.    Defendants will not oppose the Named Plaintiff’s motion for approval of

attorneys’ fees, expenses and costs as represented herein. The TPA shall issue an IRS Form

1099 for the payments to Class Counsel set forth in this paragraph in the normal course of

business, and any and all taxes relating to the payments described in this paragraph shall be the

sole responsibility of Class Counsel. Class Counsel agrees to indemnify and hold harmless

Defendants and the Released Parties for any taxes due or owing by Class Counsel, the Collective

Class Members, or Rule 23 Class Members on any payments hereunder. Payment for the

attorneys’ fees, costs, and expenses outlined herein shall come from the Gross Settlement Fund.

       3.2     Payment for the services provided by the TPA set forth in this Agreement shall

come from the Gross Settlement Fund.

       3.3     Except for the fees, costs, and other expenses expressly set forth in this Section 3,

the Parties shall bear responsibility for their own fees, costs, and expenses incurred by them or

arising out of the litigation associated with this Civil Action, and will not seek reimbursement

thereof from any other party to this Agreement or the Released Parties.


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IV.        ALLOCATION OF THE NET SETTLEMENT FUND
           4.1      The allocated potential payment to each Collective Class Member and Rule 23

Class Member shall be paid a pro-rated portion of the Net Settlement Fund based on the

minimum wage and overtime compensation allegedly due to the Collective Class Members and

Rule 23 Class Members as determined by Named Plaintiff’s expert witness, Dr. Liesl Fox, Ph.D.

These respective amounts shall be adopted by Defendants as the offer of settlement to each

Collective Class Member and Rule 23 Class Members.                               In determining the amount of

compensation allegedly due to each of these persons, Dr. Fox analyzed the payroll data provided

by Defendants for the Collective Class Members and the Rule 23 Class Members. Dr. Fox

applied an average amount of time each person allegedly worked off the clock each shift to this

data, 1 and from this, Dr. Fox determined minimum and overtime wages owed for off the clock
work. Dr. Fox determined amounts owed due to alleged errors in Defendants’ pay calculations

reflected in its data. Dr. Fox also determined the amount of minimum wages owed each person

if Defendants were not allowed to apply a minimum wage tip-credit. These amounts were

assigned to each Collective Class Member and Rule 23 Class Member for their Covered Periods.

The amount determined by Dr. Fox owed to each of the Collective Class Members and Rule 23

Class Members will be pro-rated against the Net Settlement Fund to determine the individual’s

gross payment under this Settlement. However, prior to this pro-ration, Dr. Fox will apply a

multiplier of 1.3 to Rule 23 Class members. The reason for this multiplier is based upon these

claims being asserted under the MMWL. Unlike the FLSA claims applying to the Collective

Class Members at Kansas locations, the MMWL applying to Missouri locations has a required

three-year statute of limitations (opposed to the FLSA’s two-year—three years only after proving

a “willful” violation) and mandates treble payment as liquidated damages (as opposed to the

FLSA’s double damages that are subject to a “good faith” defense). For these reasons, a

multiplier of 1.3 applied to the Rule 23 Class Members’ damages reflects the greater value of

their claims under the MMWL compared to the FLSA. Under this Plan of Allocation, and

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    The time utilized for these calculations was 30 minutes per shift as an applied average to all such persons.
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making pro-rated adjustments as necessary, no gross payment to any Collective Class Member or

Rule 23 Class Member will be less than fifty dollars ($50.00).

       4.2     For her service to Collective Class Members and Rule 23 Class Members, and in

recognition of the benefit she created, the Named Plaintiff will move the Court for an order to

receive a service award in the amount of $2,000.00. The Defendants will not oppose this

request. This amount shall be paid by the Payment Deadline, shall be in addition to any payment

made to Named Plaintiff pursuant to Section 4.1 and will be administered from the Gross

Settlement Fund. An IRS Form 1099 shall be issued for this service award in the normal course

of business, and any and all taxes relating to such payments shall be the sole responsibility of

Named Plaintiff. Named Plaintiff agrees to indemnify and hold harmless Defendants and the

Released Parties for any taxes due or owing by Named Plaintiff on such service payment.

       4.3     Each settlement payment to Participating Class Members will be reported to the

IRS as follows: 50% of such payment will be designated as wages for tax purposes and each

person will receive an IRS Form W-2 for this portion of the settlement payment in the normal

course of business; and 50% of such payment will be designated as liquidated damages for tax

purposes and each person will receive an IRS Form 1099 for this portion of the settlement
payment, if required, in the normal course of business. The TPA will calculate and deduct from

the payments the amounts of tax withholding regarding the 50% attributable to wages, and any

payment for the Defendants’ share of payroll taxes shall be deducted from the Net Settlement

Fund. The TPA shall apply IRS tax withholdings permitted for processing class action wage

claims. All other taxes relating to the payments made pursuant to this paragraph shall be the sole

responsibility of the Participating Class Members. As to the payments reported as non-wage

income, Named Plaintiff and Participating Class Members agree to indemnify and hold harmless

Defendants and the Released Parties for any taxes due or owing by such Named Plaintiff and

Participating Class Members on such payments.



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       4.4     Payments made under this Agreement are not intended to and will not form the

basis for additional contributions to, benefits under, or any other monetary entitlement under any

bonus, pension, and retirement programs of Defendants or 401(k) plans that may be maintained

by Defendants, their parents or affiliates.     Nor will such payments count as earnings or

compensation with respect to, or be considered to apply to, or be applied for purposes of any

bonus, pension, and retirement programs of Defendants or 401(k) plans that may be maintained

by Defendants, their parents or affiliates. Defendants retain the right, if necessary, to modify the

language of their benefit plans and pension, bonus and other programs, if necessary, to make

clear that any amounts paid pursuant to this Settlement Agreement are not for hours worked,

hours paid or any similar measuring term as defined by any plans and programs for purposes of

eligibility, vesting, benefit accrual or any other purpose. Nothing in this Agreement shall be

deemed to reinstate employment or change the dates of employment for any individual not

currently employed by Defendants.

V.     NOTICE TO THE CLASS MEMBERS & RIGHT TO OBJECT
       5.1     Within fourteen (14) days of the Parties executing this Agreement, the Defendants

shall provide the names, last known mailing addresses, and social security numbers to Class

Counsel in Excel format for the Collective Class members and Rule 23 Class Members. Within

fourteen (14) days after the Preliminary Approval Date, the TPA shall send the Notices,

including the Claim and Release Forms, in the forms attached hereto as Exhibit B, to Collective

Class Members and Rule 23 Class Members via first class mail. Included with the Notice shall

be a self-addressed, postage prepaid envelope for return of the Claim and Release Form to the

TPA.     Twenty (20) days after the TPA mails the Notices, the TPA shall mail a reminder

postcard to persons who have not returned Claim and Release Forms.

       5.2     The Notice attached as Exhibit B will explain how each Collective Class

Member’s and Rule 23 Class Member’s settlement share was calculated based on the Plan of

Allocation and will provide an opportunity for the Collective Class Member or Rule 23 Class

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Member to opt-out of the Settlement so that they can separately pursue their claims, if any,

against Defendants if they choose. It will also inform the Collective Class Member and Rule 23

Class Member of what the Released Claims are against the Released Parties. The Notice to the

Collective Class Members and Rule 23 Class Members will also inform them of the date of the

Fairness Hearing and the process for objecting to the Settlement.

       5.3     Each Notice shall also provide Collective Class Members and Rule 23 Class

Members with the Class Counsel’s contact information and a tollfree number to obtain more

information regarding the Notice.

       5.4     Class Counsel shall inform Defense Counsel on the day that Notice was mailed to

the Collective Class Members and Rule 23 Class Members.

VI.    CLAIM, FUNDING PROCESS & NONPARTICIATION
       6.1     A Collective Class Member’s and Rule 23 Class Member’s Claim and Release

Form must be post-marked, or returned via facsimile or e-mail, by the Claim Deadline. Within

seven (7) days after the Claim Deadline, the TPA shall provide to Class Counsel and Defense

Counsel the executed Claim and Release Forms (including forms where any such person “opts-

out” of the Settlement), along with an Excel spreadsheet reflecting the gross payout from the Net

Settlement Fund for each Participating Class Member.

       6.2     Any Rule 23 Class Member’s objection to the Settlement must be post-marked, or

returned via facsimile or e-mail, by the Claim Deadline. The TPA shall provide Class Counsel a

copy of any objection upon its receipt per the requirements set forth in the Notice, and Class

Counsel shall timely file said objections with the Court.

       6.3     Within seven (7) days after Final Approval, and consistent with the Court’s Final

Approval Order, the TPA shall inform Defendants of the amount of funds necessary to make: (a)

distributions to the Participating Class Members (including funds necessary to cover employer

payroll taxes); payments to Class Counsel set forth in Section 3.1; payment of the service award

to Named Plaintiff set forth in Section 4.2; and payment to the TPA for its costs associated with

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processing the Notice and payments set forth in this Settlement Agreement. Within (14) days of

the Final Approval, the Defendants shall transfer this amount of funding to the TPA per its

instructions.

       6.4      The TPA shall make payments to the Participating Class Members by the

Payment Deadline. The face of each check sent to Participating Class Members, or bolded

language of a notice enclosed with each check, shall clearly state that the check must be cashed

within one-hundred and twenty (120) calendar days.

       6.5      Participating Class Members shall have one-hundred and twenty (120) calendar

days from the date the settlement checks are mailed to them by the TPA to cash or otherwise

negotiate their settlement checks. If any such Participating Class Member does not cash or

otherwise negotiate either check within that 120-day period, such checks will be void and a stop-

pay notice will be placed on such unnegotiated checks. In such event, those Participating Class

Members will be deemed to have waived irrevocably any right in or claim to settlement funds,

and any such funds shall revert from the TPA to the Defendants. Such Participating Class

Members who returned a Claim and Release Form indicating their desire to participate in the

Settlement, but did not cash or otherwise negotiate either check, will nevertheless be bound by
this Agreement and the Release provisions contained herein.

       6.6      Collective Class Members or Rule 23 Class Members who return a Claim and

Release Form indicating their desire to not participate in the Settlement will be deemed to have

waived irrevocably any right in or claim to any funds under this Settlement, but will not be

deemed to have waived their right to assert any of the Released Claims against any of the

Released Parties in a separate legal proceeding if they so choose.

       6.7      Collective Class Members who do not return a Claim and Release Form, or fail to

timely return a Claim and Release Form by the Claim Deadline, will not participate in the

Settlement and will be deemed to have waived irrevocably any right in or claim to any funds

under this Settlement, but will not be deemed to have waived their right to assert any of the

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Released Claims against any of the Released Parties in a separate legal proceeding if they so

choose.

VII.   RELEASES BY CLASS MEMBERS
       7.1     By operation of this Agreement and except as to such rights or claims as may be

created by this Agreement or those non-waivable by law, the Named Plaintiff, and her respective

heirs, beneficiaries, designees, legatees, executors, administrators, successors-in-interest, and

assigns hereby irrevocably and unconditionally forever and fully release, and covenant not to

sue, Defendants and the Released Parties for the Released Claims.

       7.2     By operation of this Agreement and except as to such rights or claims as may be

created by this Agreement or those non-waivable by law, the Participating Class Members, and

their respective heirs, beneficiaries, designees, legatees, executors, administrators, successors-in-

interest, and assigns hereby irrevocably and unconditionally forever and fully release, and

covenant not to sue, Defendants and the Released Parties for, the Released Claims.

       7.3     By operation of this Agreement and except as to such rights or claims as may be

created by this Agreement or those non-waivable by law, Rule 23 Class Members who do not

return a Claim and Release Form, or fail to timely return a Claim and Release Form by the Claim

Deadline, and their respective heirs, beneficiaries, designees, legatees, executors, administrators,

successors-in-interest, and assigns hereby irrevocably and unconditionally forever and fully

release, and covenant not to sue, Defendants and the Released Parties for the Released Claims,

except for any claims they might have under the FLSA against the Released Parties.

VIII. NON-ADMISSION

       8.1       Defendants expressly deny any wrongdoing associated with the claims in the

Civil Action and make no admission of liability. Defendants maintain that they have complied

with applicable federal, state, and local laws at all times. It is expressly understood and agreed

by the Parties that this Agreement is being entered into by Defendants solely for the purpose of

avoiding the cost and disruption of ongoing litigation and defending any claims asserted in this

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Civil Action. Nothing in this Agreement, the settlement proposals exchanged by the Parties, or

any motions filed or orders entered pursuant to this Agreement, may be construed or deemed as

an admission by Defendants of any liability, culpability, negligence, or wrongdoing and this

Agreement, including its provisions, its execution, and implementation, including any motions

filed or orders entered, shall not in any respect be construed as offered or deemed admissible as

evidence, or referred to in any arbitration or legal proceeding for any purpose, except in an action

or proceeding to approve, interpret, or enforce this Agreement.

       8.2      In the event the Court does not approve this Agreement, the Parties agree this

Agreement is not meant to be, and will not be, construed as an admission that Defendants are

liable for liquidated damages or any other damages. Further, in the event the Court does not

approve this Agreement, Defendants reserve the right to deny they engaged in activity that would

warrant liquidated damages or any other damages.

       8.3     In the event that the Court does not approve this Agreement, the Parties agree

Defendants reserve the right to contest certification, including conditional certification, of the

Collective and Rule 23 Classes. Further, nothing in this Agreement, nor information exchanged

solely in support of this agreement or within settlement negotiations, shall be utilized to
prosecute or defend against the claims in the Civil Action.

IX.    DUTIES OF THE PARTIES TO OBTAIN COURT APPROVAL
       9.1     In connection with seeking Preliminary Approval by the Court of the Settlement,

and consistent with any direction provided by the Court, Class Counsel and Defense Counsel

will submit a proposed Order for the Court’s review and consideration attached hereto as Exhibit

A granting conditional collective and class certification; and preliminarily approving the

Agreement; adjudging the terms thereof to be fair, reasonable and adequate; and directing

consummation of its terms and provisions regarding Notice to the Collective Class Members and

Rule 23 Class Members.



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       9.2     In connection with seeking Final Approval by the Court of the Settlement, and

consistent with any direction provided by the Court, Class Counsel and Defense Counsel will

submit a proposed Order for the Court’s review and consideration granting final approval to the

Agreement; adjudging the terms thereof to be fair; reasonable and adequate; directing

consummation of its terms and provisions; dismissing the Civil Action on the merits and with

prejudice and permanently bar all Participating Class Members, and Rule 23 Class members who

do not opt-out of the settlement, from prosecuting against any Released Parties any of the

Released Claims; and for the Court to retain jurisdiction to enforce the terms of the Agreement.

X.     PARTIES’ AUTHORITY
       10.1    The signatories hereby represent that they are fully authorized to enter into this

Agreement and to bind the Parties hereto to the terms and conditions hereof.

       10.2    All of the Parties acknowledge that they have been represented by competent,

experienced counsel throughout all negotiations, which preceded the execution of this

Agreement, and this Agreement is made with the consent and advice of Class Counsel and

Defense Counsel, who have jointly prepared this Agreement.

XI.    MUTUAL FULL COOPERATION
       11.1    The Parties agree to use their best efforts and to fully cooperate with each other to

accomplish the terms of this Agreement, including but not limited to, execution of such

documents, and to take such other action as may reasonably be necessary to implement and

effectuate the terms of this Agreement.

XII.   SETTLEMENT OF DISPUTES
       12.1    All disputes relating to this Agreement and its implementation shall be within the

continuing jurisdiction of the Court over the terms and conditions of this Agreement, until all

payments and obligations contemplated by the Agreement have been fully carried out.




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XIII. NOTICES
       13.1    Unless otherwise specifically provided herein, all notices, demands or other

communications given hereunder shall be in writing and shall be deemed to have been duly

given as of the third business day after mailing by United States registered or certified mail,

return receipt requested, addressed as follows:


To Named Plaintiff or any other Class Member:

Brendan J. Donelon
DONELON, P.C.
4600 Madison, Ste. 810
Kansas City, MO 64112
816-221-7100
Facsimile: 816-709-1044
brendan@donelonpc.com

Brandon J.B. Boulware
Erin D. Lawrence
Boulware Law
1600 Genessee, Suite 416
Kansas City, MO 64102
Tel: (816) 492-2826
Fax: (816) 492-2826
brandon@boulware-law.com
erin@boulware-law.com

To the Defendants:

Tyler C. Hibler
Jessica L. Barranco
HUSCH BLACKWELL LLP
4801 Main Street,
Suite 1000
Kansas City, MO 64112-2551
Direct: 816.983.8325
Fax: 816.983.8080
Tyler.Hibler@huschblackwell.com
Jessica.barranco@huschblackwell.com




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XIV. AMENDMENTS/MODIFICATION
       14.1    No waiver, modification, or amendment of the terms of this Agreement and/or its

attachments shall be valid or binding unless in writing, signed by and on behalf of all of the

Parties, and then only to the extent set forth in such written waivers, modifications, or

amendments, and approved by the Court.

XV.    ENTIRE AGREEMENT
       15.1    This Agreement, its attachments, constitute the entire agreement between the

Parties concerning the subject matter hereof. No extrinsic oral or written representations or

terms shall modify, vary or contradict the terms of this Agreement. In the event of any conflict

between this Agreement and any other Settlement-related document, the Parties intend that this

Agreement shall be controlling.

XVI. CONTINUING JURISDICTION
       16.1    The Parties request that the Court retain continuity and exclusive jurisdiction over

the Parties for the purposes of the administration and enforcement of this Agreement. Approval

of the Agreement will not depend upon the Court granting this request and the fact that the Court

declines to exercise such jurisdiction will not impact the enforceability of this Agreement.

XVII. COUNTERPARTS
       17.1    This Agreement may be executed in counterparts, and when each party has signed

and delivered at least one such counterpart, each counterpart shall be deemed an original, and,

when taken together with other signed counterparts, shall constitute one Agreement, which shall

be binding upon and effective as to all Parties.

XVIII. NO THIRD-PARTY BENEFICIARIES
       18.1    This Agreement shall not be construed to create rights in, or to grant remedies to,

or to delegate any duty, obligation, or undertaking established herein to any third party as a

beneficiary of this Agreement.




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XIX. BINDING AGREEMENT
       19.1    This Agreement shall be binding upon, and inure to the benefit of, the Parties and

their affiliates, agents, employees, beneficiaries, heirs, executors, administrators, successors, and

assigns.

XX.    VOIDING THE AGREEMENT

       20.1    In the event this Agreement, or any amended version agreed upon by the Parties

does not obtain judicial approval for any reason, this Agreement shall be null and void in its

entirety, unless expressly agreed in writing by all Parties.


XXI. PUBLIC COMMENTS AND STATEMENTS TO THE MEDIA
       21.1    The Parties’ negotiations and the terms of this Settlement Agreement shall be held

confidential other than necessary disclosures made to the Court.        Class Counsel, the Named

Plaintiff, and each Participating Class Member hereby covenant that they will not issue, nor

cause to be issued, any statements to the public or media regarding the Settlement or any of its

terms, including statement on any website(s) or via social media.

XXII. GOVERNING LAW
       22.1    This Agreement, and the exhibits hereto, shall be considered to have been

negotiated, executed, and delivered, and to have been wholly performed in the State of Kansas,

and the rights and obligations of the Parties shall be construed and enforced in accordance with,

and governed by, the substantive laws of the State of Kansas without giving effect to that state’s

choice of law principles.

XXIII. PRIVACY OF DOCUMENTS AND INFORMATION
       23.1    Named Plaintiff and Class Counsel agree that they will not disclose to any third

parties, or use for any purpose, documents and information obtained in the course of the

litigation, including information exchanged pursuant to settlement discussions, except that this

Section shall not apply in any action to enforce or interpret the terms of this Agreement, and also

shall not apply to the extent that any party is required by subpoena or other legal process to
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    June 14
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     June 18




     June 18
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            EXHIBIT A




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                       IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF KANSAS

KIRA FLORECE                                 )
on behalf of herself and others              )
similarly situated,                          )
                                             )
       Plaintiff,                            )
                                             )
vs.                                          )       Case No.: 2:20-cv-2339
                                             )
JOSE PEPPER’S RESTAURANTS,                   )
L.L.C. and EDWARD J.                         )
GIESELMAN,                                   )
                                             )
      Defendants.                            )
____________________________

               ORDER DETERMINING GOOD FAITH AND GRANTING
            PRELIMINARY APPROVAL OF STIPULATION OF SETTLEMENT

       The Court now takes up the Plaintiff’s Unopposed Motion for Preliminary Approval of

Stipulation of Settlement Agreement and Release. After review of said Motion and the

supporting memorandum, the Court hereby finds as follows:

       A.      On [insert date of filing], the Named Plaintiff Kira Florece and Defendants Jose

Pepper’s Restaurants, LLC and Edward J. Gieselman filed with this Court a Stipulation of

Settlement Agreement and Release (“Settlement”).
       B.      In Plaintiff’s Unopposed Motion for Preliminary Approval, the Parties are seeking

conditional certification under § 216(b) of the Fair Labor Standards Act, 20 U.S.C. § 201, et seq.

(“FLSA”) on behalf of employees who worked as servers at Defendants’ nine restaurants located

in Kansas. The Parties are also seeking class certification under F.R.Civ.P. 23 for claims

asserted on behalf of employees who worked as servers at Defendant’s four restaurants in

Missouri for claims brought under the Missouri Minimum Wage Law, Mo. Rev. Stat. § 290.500,

et seq. (“MMWL”).

       C.      This Court has duly considered all of the submissions presented with respect to

the Settlement.
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       D.      All capitalized terms in this Order Determining Good Faith and Granting

Preliminary Approval Stipulation of Settlement with respect to the Settlement that are not

otherwise defined have the same meaning as in the Stipulation of Settlement Agreement and

Release document submitted by the parties.

       NOW THEREFORE, after due deliberation and for good cause, this Court hereby

ORDERS that:

       1.      For the reasons set forth in the Memorandum in Support of the Parties’ Joint

Motion for Preliminary Approval of Settlement Stipulation, this Court finds that the Named

Plaintiff sufficiently met the requirements of § 216(b) of the FLSA establishing that employees

of Defendants who worked as servers at its nine Kansas restaurants are “similarly situated”

regarding their claims for minimum wage and overtime and hereby grants preliminary

conditional certification for the following class of employees:

       All persons who worked as hourly nonexempt servers at Defendants’ thirteen
       restaurant locations in the state of Kansas from May 21, 2018 through May 21,
       2021.


       2.      This Court also finds that the Named Plaintiff has sufficiently met the numerosity,

commonality, typicality, and adequacy elements under Rule 23(a) and the predominance and

superiority elements under Rule 23(b)(3) regarding the claims asserted by Missouri servers under

the MMWL. Specifically, the class is sufficiently numerous that joinder is impracticable. The

members share common issues of fact and law. The Named Plaintiff has claims that are typical

of those of the class since they arise out of the same policies and practices and course of conduct

of which all class members complain. The Named Plaintiff is an adequate representative of their

respective classes since her interests are co-extensive with those of the class members and are

not in conflict with them. Named Plaintiff has also retained experienced counsel to represent the

class. Questions of law and fact common to the class predominate over individualized issues,
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and class treatment is a superior way to fairly and efficiently adjudicate this controversy. In turn,

Named Plaintiff Kira Florece is appointed as Rule 23 class representative for the following class

of employees:

       All persons who worked as hourly nonexempt servers at Defendants’ four restaurant
       locations in the State of Missouri from July 7, 2017 through May 21, 2021.

       3.       These findings warrant preliminary certification to effectuate the terms of the

Settlement. Both the FLSA collective class and the Rule 23 class are collectively referred to

herein as the “Settlement Classes.”

       4.       Attorneys Brendan J. Donelon of the law office of DONELON, P.C. and Brandon

Boulware and Erin Lawrence of BOULWARE LAW are appointed as class counsel.

       5.       The Settlement appears to be fair, reasonable, and adequate. It is in the best

interests of the Settlement Classes and should be preliminarily approved. This is true especially

in the light of the benefits to the Settlement Classes accruing therefrom; the substantial discovery

and investigation conducted by Class Counsel prior to the proposed Settlement; the complexity,

expense, risks, and probable protracted duration of further litigation; and given the financial

condition of the Defendants, the Plaintiff’s ultimate ability to collect.

       6.       The Court has reviewed the terms and conditions of the Parties’ Settlement,

including the monetary relief provisions, the Plan of allocation, the Released Claims, and the

Parties’ detailed description of the Settlement regarding the claims regarding the Settlement

Classes. Based on these papers and the Court’s familiarity with this case, the Court finds that the

proposed Settlement is the result of extensive, arms-length negotiations between the Parties after

Class Counsel and Defendants’ counsel had fully investigated the claims and become familiar

with the strengths and weaknesses of Named Plaintiff’s claims. The assistance of an experienced

mediator, John Phillips, and the length of the mediation process confirms that the settlement is
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not collusive. Based on all these factors, the Court finds that the proposed settlement has no

obvious defects and is within the range of possible settlement approval such that notice to the

Settlement Classes as set forth in the Settlement is appropriate.

       7.      For purposes of the Settlement, the Court approves Simpluris, Inc. as the Third

Party Administrator (“TPA”).

       8.      The Notice and Claims and Release Forms attached as Exhibit B to the Settlement

fully and accurately inform the Settlement Classes of all material elements of the action and the

proposed Settlement.

       9.      The Notice form regarding the Collective Class Members and the Rule 23 Class

Members also advises them of their right to not participate in the Settlement and informs them of

their right to assert an objection at a Fairness Hearing to be held before this Court. The

Settlement Classes must exercise their right to opt-out of the Settlement within 45 days of the

mailing of the Notice.

       10.     The Parties propose to disseminate Notices for all Settlement Classes via first

class mail to the last known addresses. The Parties also propose sending a reminder postcard to

all members of the Settlement Class twenty days after the initial mailing of the Notice. This

Court finds that the form and method of disseminating the Notices to the Settlement Classes, as

provided in the Settlement, is the best notice practicable under the circumstances and fully meets

the requirements of applicable federal and state law.

       11.     The Court also finds that the proposed form and content of the Claim and Release

Forms fully comport with the requirements of applicable federal and state law.

       12.     Based on the foregoing, the proposed Notices and Claim and Release Forms

attached as Exhibit B are hereby approved by the Court.
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       13.     Within fourteen (14) days after entry of this Order, the TPA shall mail the Notices

by first class mail to the last known addresses of each Class Member.

       14.     The Court schedules a fairness hearing on__________, 2021, at _____ [a.m./p.m.]

to address: (a) whether the proposed Settlement should be finally approved as fair, reasonable,

and adequate as to the Collective Class Members and Rule 23 Class Members; and (b) Class

Counsel’s application for attorneys’ fees, expenses and service award for Named Plaintiff.


Dated this _____ day of _________, 2021.      SO ORDERED:




                                              Hon. Angel Mitchell
                                              Magistrate Judge
                                              United States District Court
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                         EXHIBIT B




8335117 v1
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                            Kira Florece, et al. v. Jose Pepper’s Restaurants, LLC, et al.
                                            Case number: 2:20-cv-02339
                               United States District Court for the District of Kansas
                                          [Notice for the Collective Class]
                                                Settlement Notice

 1.      Why did I get this Notice?

You were sent this Notice because the parties in the class action lawsuit listed above (“Lawsuit”) brought by Kira Florece
(“Plaintiff”) against Jose Pepper’s Restaurants, LLC and its owner Edward J. Gieselman (“Defendants”) has settled. This
Lawsuit alleged that hourly servers at Defendants’ nine Jose Pepper’s restaurants in Kansas were required to work off the
clock and were not provided adequate notice of how wages were to be paid to tipped employees under the law. The
Plaintiff alleged that this denied class members minimum wages and overtime under the wage laws. This Notice is to
inform you that a settlement agreement was reached and preliminarily approved by the Court on _____________, 2021.


 2.      Does the settlement mean that Defendants violated the law?

No. Defendants deny they violated any law, ordinance, or rule with respect to compensation and maintain they have at all
times properly compensated Plaintiff and all other persons. Nevertheless, Defendants have decided it is a better use of
their resources to resolve this matter now, so they can direct their time and resources to their business operations.


 3.      How did the parties decide to reach a settlement?

The Plaintiff and Defendants agreed to settle the Lawsuit in mediation. By this agreement, the Parties avoid the cost and
uncertainty of further litigation, trial, and appeals. Counsel for Defendants and counsel for Plaintiff negotiated the terms
of the settlement described in this Notice. The attorneys for Plaintiff Florece believe that the proposed settlement is fair
and reasonable and in the best interest of you and the other server employees because the settlement creates a settlement
fund and avoids the considerable risks and delays involved in continuing the Lawsuit. From the perspective of
Defendants, settling now means that they will not have to keep spending money, time and effort on the Lawsuit.


 4.      What are My Choices?

Check the “Participate” Box        If you want to participate in this settlement and receive your settlement payment,
 on the enclosed Claim &           you will need to check the “Participate” box on the enclosed Claim & Release Form
      Release Form.                and return it by ________, 2021. Your estimated gross settlement payment is
                                   $****. How this amount was determined is explained below. Half of this amount
                                   will be paid as lost wages with payroll taxes taken out and for which an IRS Form
                                   W-2 will be issued to you. The other half will be paid as liquidated damages
               or                  permitted under the law, from which no tax withholdings will be made and for
                                   which an IRS Form 1099 will be issued to you. Checks for these amounts will be
                                   mailed to you within 30 days of the Court granting final approval of this Settlement.
 Check the “Opt-out” Box on        If you do not want to participate in this settlement and reject your settlement
  the enclosed Claim/Opt-out       payment, you will need to check the “Opt-out” box on the enclosed Claim &
            Form.                  Release Form and return by _______, 2021. By doing so, you will not be releasing
                                   your claims against Defendants set forth below in Section 5. You will be free to
             or                    pursue your claim individually.
         Do Nothing.               If you do nothing, you will not be releasing your claims against Defendants set forth
                                   below in Section 5. You will be free to pursue your claims individually.

The class is made up of an estimated 1,998 servers employed by Defendants at its Missouri and Kansas restaurants.
Defendants have agreed to pay a total of $1,750,000 to settle this matter. Under the terms of the Settlement of this
Lawsuit, which has been preliminarily approved by the Court, counsel for Plaintiff will receive 33% of the total amount of

? Questions ? Call: 1-888-000-0000
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the Settlement in attorneys’ fees plus reimbursement of an estimated $13,154.330 in out-of-pocket costs associated with
the Lawsuit. Plaintiff Florece will receive an additional amount of $2,000 for taking the risk to file this Lawsuit on behalf
of all class members, exposing her name in this litigation and working with counsel to pursue your claims for allegedly
unpaid wages. The remaining estimated $1,135,845.67 will be divided among all class members on a pro-rata basis. Pro-
rata shares were based primarily on calculations made by an expert retained by Plaintiff using collective class members’
dates of employment, payroll records, and information provided by such members about the number of pre and/or post-
shift minutes worked off-the-clock per shift. Plaintiff’s expert applied a multiplier of 1.3 to the amount of minimum wage
and overtime owed for servers working at Missouri locations. The reason for this multiplier is based upon these claims
being asserted under Missouri’s wage laws. Unlike the federal wage laws applying to Kansas servers (note: there is no
Kansas state law applicable to these claims), Missouri’s law mandates a three year statute of limitations (opposed to the
federal two-year) and mandates triple payment as liquidated damages (as opposed to the federal law’s double). For these
reasons, a multiplier of 1.3 applied to the Missouri class members’ damages reflects the greater value of their claims under
Missouri’s compared to the federal. No class member shall receive a gross payment of less than $50.00.

Neither counsel for Plaintiff nor Defendants can provide you with tax advice, so if you have any questions about the tax
consequences of any payment you receive, you should consult your own tax professional. These payments will not be
made unless and until all the terms of the Settlement have been met.


 5.      What claims am I releasing?

If you elect to participate in this Settlement, you agree that you have waived and released Defendants and all entities or
individuals related to Defendants from all wage-related claims of whatever nature, whether known or unknown, as a result
of actions or omissions through and including the Claim Deadline, whether under federal, state and/or local law, statute,
ordinance, regulation, common law, or other source of law, including, but not limited to, the FLSA, the MMWL, the
KWPA, and any other federal, state, or local wage and hour or wage payment laws, including any and all claims
thereunder for unpaid overtime, liquidated damages, unpaid wages, deductions, minimum wages, premium pay, interest,
attorneys’ fees, injunctive relief, or penalties related to overtime, missed meal periods, missed rest breaks, breach of
contract, quantum meruit or retaliation related to wage claims, the prompt pay laws of any state, and other alleged wage
and hour violations, and any claims related to the Employment Retirement Income Security Act of 1974, as amended
(“ERISA”).

 6.      Fairness Hearing & Objections to the Settlement.

The Judge presiding over this Lawsuit, the Hon. _____________, will conduct a Final Fairness Hearing at ______
[a.m./p.m.] on _______, 2021 in Division ___ of the United States District Court of Kansas federal courthouse located at
500 State Ave., Kansas City, KS 66101. At this hearing, the Judge will decide whether the settlement is sufficiently fair
and reasonable to warrant final court approval. You are not required or expected to attend the Fairness Hearing.

If you wish to object to the proposed settlement, you must submit a written objection to the Claims Administrator
Simpluris, Inc. [**address**]. The envelope containing your written objection must be postmarked by ________, 2021.
Your written objection must include your name, your address, a statement describing the reasons for your objection, and
any other documents you believe the Judge should consider in evaluating the settlement's fairness. If you return a written
objection, the Judge will consider your objection whether or not you attend the Fairness Hearing. If you intend to
personally attend and speak during the hearing you should clearly indicate this in your written objection.


 7.      Questions about this Notice?           Who is the class Counsel?

If you have questions about this notice or want a copy of the complete Agreement, you can contact the court approved
company administering this settlement, Simpluris, Inc. at 800-000-0000. The Court approved class counsel are Brendan J.
Donelon, DONELON, P.C., 4600 Madison, Ste. 810 Kansas City, MO 64112 and Brandon Boulware and Erin Lawrence of
BOULWARE LAW, 1600 Genessee, Ste. 416, Kansas City, MO 64102.




? Questions ? Call: 1-888-000-0000
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Florece, et al. v. Jose Pepper’s Restaurants, LLC, et al.
              2:20-cv-2339
 United States District Court of Kansas
                                        Claim & Release Form
[insert name and mailing address]                     Corrected Mailing Address:
                                                      ____________________________________
                                                      ____________________________________
                                                      ____________________________________

                             Select one of the two options below by checking the box.

     Participate          I desire to participate in this Settlement, which means I accept the
                          terms of the Settlement, including my consent to join the action under
                          the Fair Labor Standards Act, accept the amount of my settlement
                          payment set forth in the Notice, and in return will Release my claims,
                          as set forth in Section 5 of the Notice, against the Releasees.

       Opt-Out            I wish to exclude myself from, or opt out of, the Class. I understand
                          that by opting out, I will be excluded from the Class Settlement and
                          will receive no money from the Settlement. I understand that if I opt
                          out, I may bring a separate lawsuit. I understand that in any separate
                          lawsuit, it is possible that I may receive nothing or less than I would
                          have received if I had filed a claim under the settlement in this
                          Lawsuit. I understand that any separate lawsuit by me will be
                          undertaken at my own expense and at my own risk. I understand that
                          Class Counsel will not represent my interests if I opt out.


_________________________________________                               ________________________
Signature                                                               Date (mm/dd/yyyy)

After completing this Claim and Release Form, mail it in the enclosed self-addressed, postage prepaid envelope so that it
is postmarked no later than [insert time deadline] to _____________. Or, you can email it to _____________ or fax it to
______________.

         KEEP A COPY OF THIS FORM FOR YOUR RECORDS. YOU MAY WISH TO REQUEST A RETURN
                                  RECEIPT FROM THE POST OFFICE

If you relocate after submitting this Claim and Release Form but before receiving money from the settlement, please
notify Simpluris, Inc. of your new address to ensure that the check is forwarded to you.




? Questions ? Call: 1-888-000-0000
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                            Kira Florece, et al. v. Jose Pepper’s Restaurants, LLC, et al.
                                            Case number: 2:20-cv-02339
                               United States District Court for the District of Kansas
                                           [Notice for the Rule 23 Class]
                                                Settlement Notice

 1.      Why did I get this Notice?

You were sent this Notice because the parties in the class action lawsuit listed above (“Lawsuit”) brought by Kira Florece
(“Plaintiff”) against Jose Pepper’s Restaurants, LLC and its owner Edward J. Gieselman (“Defendants”) has settled. This
lawsuit alleged that servers at Defendants’ four Jose Pepper’s restaurants in Missouri were required to work off the clock
and were not provided adequate notice of how wages were to be paid to tipped employees under the law. The Plaintiff
alleged that this denied class members minimum wages and overtime under the wage laws. This Notice is to inform you
that a settlement agreement was reached and preliminarily approved by the Court on _____________, 2021.


 2.      Does the settlement mean that Defendants violated the law?

No. Defendants deny that they violated any law, ordinance, or rule with respect to compensation and maintains they have
at all times properly compensated Plaintiff and all other persons. Nevertheless, Defendants have decided that it is a better
use of their resources to resolve this matter now, so that they can direct their time and resources to their business
operations.


 3.      How did the parties decide to reach a settlement?

The Plaintiff and Defendants agreed to settle the Lawsuit in meditation. By this agreement, the Parties avoid the cost and
uncertainty of further litigation, trial, and appeals. Counsel for Defendants and counsel for Plaintiff negotiated the terms
of the settlement described in this Notice. The attorneys for Plaintiff Florece believe that the proposed settlement is fair
and reasonable and in the best interest of you and other server employees because the settlement creates a settlement fund
and avoids the considerable risks and delays involved in continuing the Lawsuit. From the perspective of Defendants,
settling now means that they will not have to keep spending money, time, and effort on the Lawsuit.


 4.      What are My Choices?

Check the “Participate” Box        If you want to participate in this settlement and receive your settlement payment,
 on the enclosed Claim &           you will need to check the “Participate” box on the enclosed Claim & Release Form
      Release Form.                and return it by ________, 2021. Your estimated gross settlement payment is
                                   $****. How this amount was determined is explained below. Half of this amount
                                   will be paid as lost wages with payroll taxes taken out and for which an IRS Form
                                   W-2 will be issued to you. The other half will be paid as liquidated damages
               or                  permitted under the law, from which no tax withholdings will be made and for
                                   which an IRS Form 1099 will be issued to you. Checks for these amounts will be
                                   mailed to you within 30 days of the Court granting final approval of this Settlement.
Check the “Opt-out” Box on         If you do not want to participate in this settlement and reject your settlement
 the enclosed Claim/Opt-out        payment, you will need to check the “Opt-out” box on the enclosed Claim &
           Form.                   Release Form and return by _______, 2021. By doing so, you will not be releasing
                                   your claims against Defendants set forth below in Section 5. You will be free to
             or                    pursue your claim individually.
         Do Nothing.               If you do nothing, you will be releasing all the claims set forth in Section 5 below
                                   which include your claims under Missouri’s wage and hour laws, however, you will
                                   not be releasing any claims you might have under the Fair Labor Standards Act.



? Questions ? Call: 1-888-000-0000
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The class is made up of 1,998 servers employed by Defendants at its Missouri and Kansas restaurants. Defendants have
agreed to pay a total of $1,750,000 to settle this matter. Under the terms of the Settlement of this Lawsuit, which has been
preliminarily approved by the Court, counsel for Plaintiff will receive 33% of the total amount of the Settlement in
attorneys’ fees plus reimbursement of an estimated $13,154.33 in out-of-pocket costs associated with the Lawsuit.
Plaintiff Florece will receive an additional amount of $2,000 for taking the risk to file this Lawsuit on behalf of all class
members, exposing her name in this litigation and working with counsel to pursue your claims for allegedly unpaid
wages. The remaining $1,135,845.67 will be divided among all class members on a pro-rata basis. Pro-rata shares were
based primarily on calculations made by an expert retained by Plaintiff using collective class members’ dates of
employment, payroll records, and information provided by such members about the number of pre and/or post-shift
minutes worked off-the-clock per shift. Plaintiff’s expert applied a multiplier of 1.3 to the amount of minimum wage and
overtime owed for servers working at Missouri locations. The reason for this multiplier is based upon these claims being
asserted under Missouri’s wage laws. Unlike the federal wage laws applying to Kansas servers (note: there is no Kansas
state law applicable to these claims), Missouri’s law mandates a three year statute of limitations (as opposed to the federal
two-year) and mandates triple payment as liquidated damages (as opposed to the federal law’s double). For these reasons,
a multiplier of 1.3 applied to the Missouri class members’ damages reflects the greater value of their claims under
Missouri’s compared to the federal. No class member shall receive a gross payment of less than $50.00.

Neither counsel for Plaintiff nor Defendants can provide you with tax advice, so if you have any questions about the tax
consequences of any payment you receive, you should consult your own tax professional. These payments will not be
made unless and until all the terms of the Settlement have been met.


 5.      What claims am I releasing?

If you elect to participate in this Settlement, you agree that you have waived and released Defendants and all entities or
individuals related to Defendants from all wage-related claims of whatever nature, whether known or unknown, as a result
of actions or omissions through and including the Claim Deadline, whether under federal, state and/or local law, statute,
ordinance, regulation, common law, or other source of law, including, but not limited to, the FLSA, the MMWL, the
KWPA, and any other federal, state, or local wage and hour or wage payment laws, including any and all claims
thereunder for unpaid overtime, liquidated damages, unpaid wages, deductions, minimum wages, premium pay, interest,
attorneys’ fees, injunctive relief, or penalties related to overtime, missed meal periods, missed rest breaks, breach of
contract, quantum meruit or retaliation related to wage claims, the prompt pay laws of any state, and other alleged wage
and hour violations, and any claims related to the Employment Retirement Income Security Act of 1974, as amended
(“ERISA”).


 6.      Fairness Hearing & Objections to the Settlement.

The Judge presiding over this Lawsuit, the Hon. _____________, will conduct a Final Fairness Hearing at ______
[a.m./p.m.] on _______, 2021 in Division ___ of the United States District Court of Kansas federal courthouse located at
500 State Ave., Kansas City, KS 66101. At this hearing, the Judge will decide whether the settlement is sufficiently fair
and reasonable to warrant final court approval. You are not required or expected to attend the Fairness Hearing.

If you wish to object to the proposed settlement, you must submit a written objection to the Claims Administrator
Simpluris, Inc. [**address**]. The envelope containing your written objection must be postmarked by ________, 2021.
Your written objection must include your name, your address, a statement describing the reasons for your objection, and
any other documents you believe the Judge should consider in evaluating the settlement's fairness. If you return a written
objection, the Judge will consider your objection whether or not you attend the Fairness Hearing. If you intend to
personally attend and speak during the hearing you should clearly indicate this in your written objection.


 7.      Questions about this Notice?           Who is the class Counsel?

If you have questions about this notice or want a copy of the complete Agreement, you can contact the court approved
company administering this settlement, Simpluris, Inc. at 800-000-0000. The Court approved class counsel are Brendan J.
Donelon, DONELON, P.C., 4600 Madison, Ste. 810 Kansas City, MO 64112 and Brandon Boulware and Erin Lawrence of
BOULWARE LAW, 1600 Genessee, Ste. 416, Kansas City, MO 64102.

? Questions ? Call: 1-888-000-0000
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Florece, et al. v. Jose Pepper’s Restaurants, LLC, et al.
              2:20-cv-2339
 United States District Court of Kansas
                                        Claim & Release Form
[insert name and mailing address]                     Corrected Mailing Address:
                                                      ____________________________________
                                                      ____________________________________
                                                      ____________________________________

                             Select one of the two options below by checking the box.

     Participate          I desire to participate in this Settlement, which means I accept the
                          terms of the Settlement, including my consent to join the action under
                          the Fair Labor Standards Act, accept the amount of my settlement
                          payment set forth in the Notice, and in return will Release my claims,
                          as set forth in Section 5 of the Notice, against the Releasees.

       Opt-Out            I wish to exclude myself from, or opt out of, the Class. I understand
                          that by opting out, I will be excluded from the Class Settlement and
                          will receive no money from the Settlement. I understand that if I opt
                          out, I may bring a separate lawsuit. I understand that in any separate
                          lawsuit, it is possible that I may receive nothing or less than I would
                          have received if I had filed a claim under the settlement in this
                          Lawsuit. I understand that any separate lawsuit by me will be
                          undertaken at my own expense and at my own risk. I understand that
                          Class Counsel will not represent my interests if I opt out.


_________________________________________                               ________________________
Signature                                                               Date (mm/dd/yyyy)

After completing this Claim and Release Form, mail it in the enclosed self-addressed, postage prepaid envelope so that it
is postmarked no later than [insert time deadline] to _____________. Or, you can email it to _____________ or fax it to
______________.

         KEEP A COPY OF THIS FORM FOR YOUR RECORDS. YOU MAY WISH TO REQUEST A RETURN
                                  RECEIPT FROM THE POST OFFICE

If you relocate after submitting this Claim and Release Form but before receiving money from the settlement, please
notify Simpluris, Inc. of your new address to ensure that the check is forwarded to you.




? Questions ? Call: 1-888-000-0000
